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IN THE UNITED STATES DISTRICT COURT
F()R THE DISTRICT OF MARYLAND

United States of America "‘

v. "‘ Criminal Case No. CCB-17-0106
DANIEL THOMAS HERSL *
1': * * air :': Jr

REGULAR SENTENCING ORDER

(l) On or before 3/23/2018 (nat more than 40 days from the dateqof this order), the
Probation Offlcer shall provide the initial draft of the presentence report to counsel for the Defendant for
review with the Defendant. lf the Defendant is in pretrial detention, defense counsel may not provide a

` copy of the recommendations section of the presentence report to the Defendant in advance of meeting to
review the presentence report, and may not leave the recommendations section of the presentence report
with the Defendant once the review has taken place. The Probation Officer shall also provide the initial
draft of the presentence report to counsel for the Govemment.

(2) On or before 4/6/201 8 (not less than 14 days from date in paragraph I), counsel shall
submit, in writing, to the Probation Officer and opposing counsel, any objections to any material
information, sentencing classifications, advisory sentencing guideline ranges, or policy statements
contained in or omitted from the report.

(3) After receiving counsel’s objections, the Probation Offlcer shall conduct any necessary
further investigation and may require counsel for both parties to meet with the Probation Offlcer to
discuss unresolved factual and legal issues. The Probation Officer shall make any revisions to the
presentence report deemed proper, and, in the event that any objections made by counsel remain
unresolved, the Probation Officer shall prepare an addendum setting forth those objections and any
comment thereon.

(4) On or before 4/17/201 8 (not less than 11 days from date in paragraph 2), the Probation

Officer shall file the report (and any revisions and addendum thereto) through CM/ECF.

Scnlcncing Guidelines Order - Regular (Rcv. 09/2017]

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"(5) lf counsel for either party intends to call any witnesses at the sentencing hearing, Counsel
shall submit, in writing, to the Court and opposing counsel, on or before

(not less than 14 days before sentencing), a statement containing (a) the

 

names of the witnesses, (b) a synopsis of their anticipated testimony, and (c) an estimate of the anticipated
length of the hearing

(6) Sentencing memoranda are not required unless a party intends to request a sentence
outside the advisory guidelines range on the basis of a non-guideline factor. If submitted, they shall be
filed with the Clerl< and a copy delivered to chambers on or before

(nat less than 14 days before sentencing). Opposing or responding

 

memoranda are not required lf submitted, they shall be delivered to chambers on or before

(nat less than 7 days before sentencing). Copies of all memoranda

 

must be sent to the Probation Offlcer.

(7) Sentencing shall be on § QC <BF

(8) The presentence report, any revisions, and any proposed findings made by the Probation
Officer in the addendum to the report shall constitute the tentative findings of the Court under section
6Al.3 of the sentencing guidelines In resolving disputed issues of fact, the Court may consider any
reliable information presented by the Probation Offlcel‘, the Defendant, or the Government, and the Court
may issue its own tentative or final findings at any time before or during the sentencing hearing

(9) Nothing in this Order requires the disclosure of any portions of the presentence report

that are not disclosable under Federal Rules of Criminal Procedure 32.

-L§ 664

Date Catherine C. Blake
Unlted States Distrlct fudge

Sentcncing Guidclines Order - Regular (Rev. 09/2017)

